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                                                                                          E-FILED
                                                              Wednesday, 17 May, 2017 12:21:53 PM
                                                                     Clerk, U.S. District Court, ILCD

                                                                            13142.A8C6

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINIOS
                                URBANA DIVISION


JANE DOE #1, JANE DOE #2,                       )
JANE DOE #3, JANE DOE #4,                       )
JOHN DOE #1, and JOHN DOE #2,                   )
                                                )
                                                )
                    Plaintiffs,                 )
                                                )
      v.                                        )     No. 16 C 2393
                                                )
DAVID MURPHY, ROBERT WINDMILLER,                )
GEORGE McKENNA, HERSCHER                        )
COMMUNITY UNIT SCHOOL DISTRICT #2               )
REHABILITATION CENTRE,                          )
                                                )
                    Defendants.                 )

                       FIRST AMENDED COMPLAINT AT LAW

      NOW COME plaintiffs, JANE DOE #1, JANE DOE #2, JANE DOE #3, JANE DOE
#4, JOHN DOE #1, and JOHN DOE #2, by and through their attorneys, MYERS
CARDEN & SAX, and for causes of action against Defendants, pleads the following
facts upon their knowledge, information and belief:


                                         Parties


      1.     JANE DOE #1, is and at all times relevant to the complaint, was a female
and a resident of the County of Kankakee, State of Illinois. On 12/11/15, JANE DOE #1
was sixteen years-old and a junior at Herscher High School.


      2.     JANE DOE #2, is and at all times relevant to the complaint, was a female
and a resident of the County of Kankakee, State of Illinois. On 12/11/15, JANE DOE #2
was sixteen years-old and a junior at Herscher High School.
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       3,      JANE DOE #3, is and at all times relevant to the complaint, was a female
and a resident of the County of Kankakee, State of Illinois. On 12/11/15, JANE DOE #3
was seventeen years old and a senior at Herscher High School.


       4.      JANE DOE #4, is and at all times relevant to the complaint, was a female
and a resident of the County of Kankakee, State of Illinois. On 12/11/15, JANE DOE #4
was eighteen years old and a senior at Herscher High School.


       5.      JOHN DOE #1 is and at all times relevant to the complaint, was a resident
of the County of Kankakee, State of Illinois. On 12/11/15, JOHN DOE #1 was 18 years
old and a senior at Herscher Hight School.


       6.      JOHN DOE #2 is and at all times relevant to the complaint, was a resident
of the County of Kankakee, State of Illinois. On 12/11/15, JOHN DOE #2 was 17 years
old and a senior at Herscher High School.


       7.      Defendant, DAVID MURPHY is and at all times relevant to the complaint,
was a resident of the County of Will, State of Illinois. As of 5/01/17, defendant DAVID
MURPHY began serving a 180-day sentence in the Kendall County, Illinois jail pursuant
to a guilty plea on charges of sexually and physically assaulting the plaintiffs herein.


       8.      Defendant, ROBERT WINDMILLER is and at all times relevant to the
complaint, was a resident of the County of DuPage, State of Illinois.


       9.      Defendant, GEORGE McKENNA is and at all times relevant to the
complaint, was a resident of the County of Kankakee, State of Illinois.


       10.     Defendant, HERSCHER COMMUNITY UNIT SCHOOL DISTRICT #2 is
and at all times relevant to the complaint, was a resident of the County of Kankakee,
State of Illinois.




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                                 Jurisdiction and Venue


        11.    This complaint was initially filed in the 21st Judicial Circuit, Kankakee,
County, State of Illinois and venue was premised upon 735 ILCS 5/2-101.              The
transactions out of which this action arose occurred in the County of Kankakee, State of
Illinois. Defendants WINDMILLER, McKENNA, and HERSCHER COMMUNITY UNIT
SCHOOL DISTRICT #2 are domiciled in and residents of the County of Kankakee, State
of Illinois.


        12.    Defendant, HERSCHER, filed its Notice of Removal on or about 12/30/16
pursuant to 28 U.S.C. Sections 1331, 1441(a), 1446(a).


                              Facts Applicable to All Counts


        13.    Herscher High School is governed by school district HERSCHER
COMMUNITY UNIT SCHOOL DISTRICT #2. (This complaint shall refer to HERSCHER
COMMUNITY UNIT SCHOOL DISTRICT #2 as “HERSCHER” hereinafter)


        14.    During the 2015-2016 school year, all plaintiffs were students enrolled at
Herscher High School.


        15.    During the 2015-2016 school year, defendant DAVID MURPHY was
employed as a teacher and the head boys wrestling coach by Herscher High School.


        16.    During the 2015-2016 school year, defendant ROBERT WINDMILLER
was employed as the assistant boys wrestling coach by Herscher High School.


        17.    During the 2015-2016 school year, defendant GEORGE McKENNA was
employed as the principal of Herscher High School.


        18.    Plaintiffs JANE DOE #1, JANE DOE #2, JANE DOE #3 and JANE DOE #4
volunteered to be “stat girls” for the Herscher High School boys wrestling team for the


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wrestling season in 2015-2016.        The “stat girls” assisted the wrestling team by
maintaining statistics and assisting with equipment during wrestling practices and
wrestling matches.


      19.    Plaintiffs JOHN DOE #1 was a volunteer assistant to the Herscher High
School boys wrestling team in the school year 2015-2016. Plaintiff JOHN DOE #2 was a
member of the Hershcher High School 2015-2016 boys wrestling team.


      20.    Prior to December 11, 2015, defendant DAVID MURPHY, made
inappropriate advances to the female plaintiffs and other non-party female students at
Herscher High School.     Some of these advances were in the form of what DAVID
MURPHY called “girl time.” During “girl time,” DAVID MURPHY would spend time with
the female plaintiffs and other non-party female students alone on the Herscher High
School campus and at away wrestling matches. During these meetings with the female
plaintiffs and other non-party female students of Herscher High School, DAVID
MURPHY would encourage the females to openly discuss their feelings about boys,
dating, their parents and their general feelings.     Other teachers and administration
including defendant McKENNA, were aware of MURPHY’S actions described in this
paragraph but did nothing to stop or otherwise prevent MURPHY’S advances on the
students.


      21.    Prior to December 11, 2015, defendant DAVID MURPHY engaged in
behavior known as “child grooming.” Child grooming is befriending and establishing an
emotional connection with a child, to lower the child's inhibitions for child sexual abuse.
Other teachers and administration officials of HERSCHER, including defendant
McKENNA, were aware of “child grooming” behavior generally and were aware of
MURPHY’S behavior and advances on students. The fact that defendant MURPHY was
allowed to groom his student targets was in effect a custom and practice of the school
as it was observed by the supervisory staff and allowed to continue.


      22.    In years prior to December 11, 2015, other faculty at HERSHER High
School engaged in sexually abusive behavior with HERSCHER students.               A band


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teacher, John Lenwell, engaged in sexual relations with a student at an overnight school
function for which he was arrested. A HERSCHER teacher and track coach, Scott R.
Stevens, now an Illinois registered sex offender, had a sexual relationship with a female
student. These events and others were well knows to the HERSCHER school board
and defendant McKENNA, but neither the school board nor the school principal or
anyone else took measures to implement new school policy, or any new customs or
practices, to safeguard the HERSCHER students from criminal sexual behavior by
faculty.


       23.    Prior to December 11, 2015, on information and belief, a HERSCHER
teacher became aware of a sexual relationship involving defendant MURPHY and a
HERSCHER female student who may have been a “stat girl.” On information and belief,
this teacher reported the relationship to defendant McKENNA.         On information and
belief, McKENNA did nothing in response to this information.


       24.    Prior to December 11, 2015, defendants ROBERT WINDMILLER,
GEORGE McKENNA and HERSCHER were aware of complaints by parents, teachers
and/or other students about defendant DAVID MURPHY’s inappropriate interactions
with female students of Herscher High School.


       25.    Prior to December, 11, 2015, defendant DAVID MURPHY brought alcohol
to a wrestling match involving his Herscher High School wrestling team. At this match,
DAVID MURPHY consumed alcohol, offered it to students, became intoxicated and
engaged in lewd and sexually inappropriate behavior by exposing his penis to members
of the Herscher High School wrestling team.


       26.    On information and belief, the defendants ROBERT WINDMILLER and
GEORGE McKENNA were made aware of the events described in the paragraphs
above but failed to report it or take appropriate action to prevent it from occurring
thereafter.




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       27.    On and prior to December 11, 2015, defendants DAVID MURPHY,
ROBERT       WINDMILLER,         GEORGE    McKENNA       and    HERSCHER        authorized,
encouraged, instructed and/or knew that the “stat girls” for the Herscher High School
boys wrestling team accompanied the boys wrestling team on out of town wrestling
matches. These defendants further authorized, encouraged, instructed and/or knew
that the “stat girls” would stay overnight at certain out of town wrestling matches with the
Herscher High School boys wrestling team at local hotels.


       28.    On and prior to December 11, 2015, the defendants DAVID MURPHY,
ROBERT WINDMILLER, GEORGE McKENNA and HERSCHER failed to develop,
adopt, implement or otherwise provide formal policies and procedures to protect and
keep safe from harm the Herscher High School students, including the plaintiffs herein,
who attended the out of town wrestling matches. Additionally, these defendants failed to
provide adult chaperones for these students, including the plaintiffs, on and prior to
December 11, 2015.


       29.    On or about December 11, 2015, the Herscher High School boys wrestling
team and the “stat girls” traveled to an out of town wrestling match in Yorkville, IL. The
boys wrestling team and the stat girls checked into a hotel located in Yorkville, IL.
Defendant David Murphy brought alcoholic beverages to the out of town wrestling match
taking place in Yorkville, IL.


       30.    At some point on December 11, 2015, defendant DAVID MURPHY
entered the hotel room occupied by the Jane Doe plaintiffs. At some point on December
11, 2015, the John Doe plaintiffs entered the hotel room occupied by the Jane Doe
plaintiffs. During the evening hours of December 11, 2015, defendant DAVID MURPHY
started drinking alcohol while visiting with the JOHN DOE plaintiffs and JANE DOE
plaintiffs in the hotel room occupied by the JANE DOE plaintiffs. Defendant DAVID
MURPHY offered alcohol to the JOHN DOE and JANE DOE plaintiffs on December 11,
2015. Defendant DAVID MURPHY became intoxicated during the time he spent in the
hotel room with the JANE DOE and JOHN DOE plaintiffs. While in their hotel room, an
intoxicated DAVID MURPHY engaged in sexually inappropriate conversation with the


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JANE DOE plaintiffs, offered the JANE DOE plaintiffs alcohol, instructed the JANE DOE
plaintiffs to show him their underwear, and touched the JANE DOE plaintiffs on their
buttocks with his hand and mouth. Furthermore, defendant DAVID MURPHY prevented
the JANE DOE plaintiffs from leaving the room or using their phones to call for help.


       31.    At some point later in the evening on December 11, 2015, an intoxicated
defendant, DAVID MURPHY, told the JOHN DOE plaintiffs that it was “girl time” and
ordered the JOHN DOE plaintiffs to leave the hotel room occupied by the JANE DOE
plaintiffs. The JOHN DOE plaintiffs exited the hotel room. Sometime later that evening,
the JOHN DOE plaintiffs returned to the room and entered to find a further intoxicated
Defendant DAVID MURPHY acting inappropriately with the JANE DOE plaintiffs. The
JOHN DOE Plaintiffs entered the room of the JANE DOE plaintiffs to remove defendant
DAVID MURPHY.           Thereon, defendant DAVID MURPHY physically and verbally
assaulted the JOHN DOE plaintiffs. During the physical altercation with the JOHN DOE
plaintiffs defendant DAVID MURPHY shouted to one or both of them, “I’ve always
wanted to kill someone. Don’t let it be you.”


       32.    Defendant ROBERT WINDMILLER was at the hotel in Yorkville, IL when
these events took place. On information and belief, defendant ROBERT WINDMILLER
became aware of defendant DAVID MURPHY’s actions but did nothing to intervene and
did not notify the school, the plaintiffs’ parents, or the authorities.


       33.    The next morning, defendant DAVID MURPHY advised the wrestling team
that he suffered from food poisoning due to something he ate the night before.


       34.    The following week, defendant GEORGE McKENNA was advised of the
events that occurred at the hotel in Yorkville, IL on or about December 11, 2015.
Thereafter, GEORGE McKENNA interviewed the plaintiffs.                    Several days after
interviewing the plaintiffs, GEORGE McKENNA advised the plaintiffs and their parents
that the plaintiffs would be suspended from school and prohibited from taking the past
semester final exams for drinking alcohol at a school event.              Defendant GEORGE
McKENNA told the plaintiffs and the parents that none of the suspensions would have


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been instituted if the plaintiffs had chosen to avoid drinking alcohol. In effect, defendant
McKENNA blamed the plaintiffs for defendant MURPHY’s physical attacks and sexual
abuse.


       35.    As a direct and proximate result of the actions by all Defendants, the
plaintiffs suffered and continue to suffer from severe personal injuries including severe
emotional trauma, significant pain and suffering, and adverse impacts upon the
enjoyment of life.


                                       Count I – Assault
                                    Defendant MURPHY


       36.    Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
32 as if they were fully set forth herein.


       37.     Defendant, DAVID MURPHY, intentionally approached plaintiffs in a
manner that caused plaintiffs to realize a reasonable apprehension of an imminent
offensive contact with plaintiffs’ person.


       38.    Defendant DAVID MURPHY’s intentional actions directed toward plaintiffs
proximately caused plaintiffs to suffer injuries and to incur damages.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count I, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY.


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                                       Count II – Battery
                                     Defendant MURPHY


       39.     Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
38 as if they were fully set forth herein.


       40.     Defendant DAVID MURPHY willfully and intentionally touched plaintiffs in
an offensive and harmful manner without any consent from the plaintiffs.


       41.     Defendant DAVID MURPHY’s willful, intentional, offensive and harmful
contact with plaintiffs caused plaintiffs to suffer injuries and incur damages as described
above.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count II, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY


                                Count III – False Imprisonment
                                     Defendant MURPHY


       42.     Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
38 as if they were fully set forth herein.


       43.     Defendant DAVID MURPHY unreasonably, unlawfully, intentionally, and
harmfully restrained plaintiffs against their will.


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       44.    Defendant DAVID MURPHY’s unreasonable, unlawful, intentional and
harmful restraint of plaintiffs’ liberty was part of a plan or scheme to commit a sexual and
physical assault upon plaintiffs.


       45.    Defendant DAVID MURPHY’s unreasonable, unlawful, intentional and
harmful restrain of plaintiffs caused plaintiffs to suffer injuries and to incur damages as
described above.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count III, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY


                  Count IV – Intentional Infliction of Emotional Distress
                 Defendants Murphy, Windmiller, McKenna and Herscher

       46.    Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
32 as if they were fully set forth herein.


       47.    Defendants     DAVID     MURPHY,      ROBERT      WINDMILLER,       GEORGE
McKENNA, and HERSCHER’s conduct as described above was extreme and
outrageous.




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       48.    Defendants’ conduct was either intended to inflict severe emotional
distress or the defendants knew or there was a high probability that their conduct would
cause severe emotional distress.


       49.    Defendants’ conduct in fact caused plaintiffs to suffer severe emotional
distress.


       50.    As a direct and proximate result of defendants’ conduct, the plaintiffs
suffered injuries and incurred damages as described above.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count IV, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY


                       Count V – Willful and Wanton Supervision
                 Defendants Murphy, Windmiller, McKenna and Herscher

       51.    Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
38 as if they were fully set forth herein.


       52.    On and prior to December 11, 2015, the defendants DAVID MURPHY,
ROBERT WINDMILLER, GEORGE McKENNA and HERSCHER undertook to supervise
an activity on public property – to wit, the out of town Herscher boys wrestling team
match in Yorkville, IL on or about December 11, 2015.




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          53.   It was the duty of all defendants, before and after Murphy’s attack on the
plaintiffs, to refrain from willful and wanton conduct which would endanger the plaintiffs’
safety.


          54.   Defendants   DAVID     MURPHY,       ROBERT      WINDMILLER,        GEORGE
McKENNA and HERSCHER failed to discover the danger posed to the plaintiffs through
recklessness or carelessness or intentional conduct when the danger could have been
discovered by ordinary care.


          55.   Defendants   DAVID     MURPHY,       ROBERT      WINDMILLER,        GEORGE
McKENNA and HERSCHER engaged in a course of action that showed an utter
indifference to or conscious disregard for the safety and welfare of the plaintiffs in the
following respects:


                a.    failed to implement and/or enforce policies and procedures to keep
                      safe the plaintiffs and other students by using adult chaperones or
                      otherwise utilizing adults to supervise the students at all times at an
                      out of town school event;


                b.    failed to request assistance in supervising the plaintiffs and other
                      students by using additional school staff, chaperones or other adult
                      volunteers;


                c.    failed to develop and/or adopt policies and procedures to advise
                      parents of students attending off-site out of town school events on
                      how the students will be supervised and kept safe;


                d.    failed to properly monitor the students under their supervision at all
                      times during the out of town school event;


                e.    failed to monitor the activities and actions of school officials, such
                      as defendant DAVID MURPHY, to avoid predatory deviant and


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                      sexual behavior by school officials that is intended to harm
                      students;


              f.      failed to intervene or otherwise report the harmful, inappropriate,
                      deviant and sexual behavior by a school official when observing or
                      otherwise having knowledge that the harmful, inappropriate, deviant
                      and sexual behavior by a school official was occurring.


       56.    Defendants’ course of action as described above proximately caused
plaintiffs to suffer extensive injuries and to incur significant damages as described
above.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count V, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY


                Count VI – Action under § 1983 of Title 42 of the U.S. Code
                                   Defendant Herscher

       57.    Plaintiffs incorporate and re-allege the allegations in paragraphs 1 through
38 as if they were fully set forth herein.


       58.    Defendant, DAVID MURPHY, in his individual capacity, subjected plaintiffs
to conduct that occurred under color of state law.




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       59.    Defendant, ROBERT WINDMILLER, in his individual capacity, subjected
plaintiffs to conduct that occurred under color of state law.


       60.    Defendant, GEORGE McKENNA, in his individual capacity, subjected
plaintiffs to conduct that occurred under color of state law.


       61.    Defendant, HERSCHER, in its individual capacity, subjected plaintiffs to
conduct that occurred under color of state law.             Defendant, HERSCHER, was
responsible for developing and implementing the policies and procedures, the custom
and practice, of HERSCHER high school to protect the students from sexually deviant
behavior by HERSCHER high school faculty and staff. These policies and procedures,
or customs and practices, were expected to be implemented and overseen by the
school principal, defendant McKENNA.


       62.    The conduct to which Defendant, HERSCHE, individually and collectively,
subjected these plaintiffs to deprived the plaintiffs of their civil rights afforded under the
U.S. Constitution. The conduct to which these defendants, individually and collectively,
subjected the Jane Doe plaintiffs and the John Doe plaintiffs to, deprived them of their
Fourteenth Amendment right to Equal Protection in that the conduct constituted
discrimination on the basis of sex.


       WHEREFORE, the plaintiffs respectfully request for this Court to enter judgment
in their favor on Count VI, find the defendants jointly and severally liable for plaintiffs’
damages, award plaintiffs such sum in excess of the court’s jurisdictional requisite as
will reasonably and fairly compensate the plaintiffs for all injuries that they sustained and
are reasonably certain to sustain in the future as a direct and proximate result of
Defendant DAVID MURPHY’s conduct and additionally award such sum as will punish
Defendant DAVID MURPHY and will discourage him and others from similar conduct,
and further award any additional relief this Court deems just and proper.


       PLAINTIFFS DEMAND TRIAL BY JURY.




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                                          Respectfully Submitted,

                                          MYERS CARDEN & SAX


                                          _/s/ Jason M. Sax_____________
                                          Attorneys for Plaintiffs




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